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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                                   CASE: A20-61126-SMS

AMY ELIZABETH BARNES                                     CHAPTER 13

                                                         JUDGE SAGE M. SIGLER
Debtor

                         TRUSTEE'S SUPPLEMENTAL REPORT
                  FOLLOWING JUNE 11, 2024 MOTION TO DISMISS HEARING

         At the hearing on the Trustee's Motion to Dismiss on June 11, 2024, the Trustee announced an
agreement that the Debtor would do the following within 10 days:

         • pay $2,000.00 to the Trustee

         Upon failure of the Debtor to comply with the above, the Trustee may request dismissal by filing
a Supplemental Report.
         THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND ADVISES THE
FOLLOWING:
         • Debtor has failed to remit $2,000.00

         As the Debtor has not complied with the agreement, please enter an Order of Dismissal.


                                                     Respectfully submitted,

                                                     _/s/___________________________
                                                     Albert C. Guthrie, Esq.
                                                     for the Chapter 13 Trustee
                                                     GA Bar No. 142399
                                                     285 Peachtree Center Ave, Suite 1600
                                                     Atlanta, GA 30303-1229
                                                     (404) 525-1110
                                                     albertg@atlch13tt.com
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                              CERTIFICATE OF SERVICE

   I hereby certify that on this day I electronically filed the foregoing pleading using the
Bankruptcy Court's Electronic Case Filing program, which sends a notice of this
document and an accompanying link to this document to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

HOWARD SLOMKA, PC

EISENBERG LAW, LLC

    I further certify that on this day I caused a copy of this document to be served
via first-class United States mail, postage prepaid, on the following parties at the
address shown for each:

AMY ELIZABETH BARNES
886 WANDA CIRCLE SW
MARIETTA, GA 30008

This 3rd day of July, 2024                       Respectfully submitted,

                                                 _/s/___________________________
                                                 Albert C. Guthrie, Esq.
                                                 for the Chapter 13 Trustee
                                                 GA Bar No. 142399
                                                 285 Peachtree Center Ave, Suite 1600
                                                 Atlanta, GA 30303-1229
                                                 (404) 525-1110
                                                 albertg@atlch13tt.com
